Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.10 Page 1 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.11 Page 2 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.12 Page 3 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.13 Page 4 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.14 Page 5 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.15 Page 6 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.16 Page 7 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.17 Page 8 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.18 Page 9 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.19 Page 10 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.20 Page 11 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.21 Page 12 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.22 Page 13 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.23 Page 14 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.24 Page 15 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.25 Page 16 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.26 Page 17 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.27 Page 18 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.28 Page 19 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.29 Page 20 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.30 Page 21 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.31 Page 22 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.32 Page 23 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.33 Page 24 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.34 Page 25 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.35 Page 26 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.36 Page 27 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.37 Page 28 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.38 Page 29 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.39 Page 30 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.40 Page 31 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.41 Page 32 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.42 Page 33 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.43 Page 34 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.44 Page 35 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.45 Page 36 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.46 Page 37 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.47 Page 38 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.48 Page 39 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.49 Page 40 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.50 Page 41 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.51 Page 42 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.52 Page 43 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.53 Page 44 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.54 Page 45 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.55 Page 46 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.56 Page 47 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.57 Page 48 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.58 Page 49 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.59 Page 50 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.60 Page 51 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.61 Page 52 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.62 Page 53 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.63 Page 54 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.64 Page 55 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.65 Page 56 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.66 Page 57 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.67 Page 58 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.68 Page 59 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.69 Page 60 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.70 Page 61 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.71 Page 62 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.72 Page 63 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.73 Page 64 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.74 Page 65 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.75 Page 66 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.76 Page 67 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.77 Page 68 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.78 Page 69 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.79 Page 70 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.80 Page 71 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.81 Page 72 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.82 Page 73 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.83 Page 74 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.84 Page 75 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.85 Page 76 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.86 Page 77 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.87 Page 78 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.88 Page 79 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.89 Page 80 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.90 Page 81 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.91 Page 82 of 83
Case 3:22-cv-01648-RBM-DDL Document 1-2 Filed 10/24/22 PageID.92 Page 83 of 83
